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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 CHARLES HINES, individually and on
 behalf of all others similarly situated,
                                                  Case No. 1:21-cv-03597
         Plaintiff,
                                                  Judge: Hon. Jorge L. Alonso
                         v.
                                                  Magistrate: Hon. Sunil R. Harjani
 PROCTOR.IO INCORPORATED,

         Defendant.


                      UNOPPOSED MOTION TO EXTEND DEADLINE FOR
                           SERVING NOTICES OF DEPOSITIONS

        Plaintiff Charles Hines, by and through undersigned counsel, files this unopposed Motion

to Extend the Deadline for Serving Notices of Depositions in the above-styled action (the

“Action”), and in support thereof and for good cause states as follows:

   1. Per the Court’s Order dated August 17, 2021 (ECF No. 22), all notices of depositions, with

        agreed upon dates, are currently due to be served in this Action by December 17, 2021.

   2. Per the Court’s November 15, 2021 minute order (ECF No. 28), Defendant Proctor.io

        Incorporated (“Proctorio” or “Defendant”) was ordered to complete its rolling production

        of documents by December 8, 2021, well before the December 17, 2021 deadline.

   3.   On December 3, 2021, Defendant sought an extension of its deadline to complete its

        rolling production of documents from December 8, 2021, to January 3, 2022, which

        Plaintiff did not oppose (see ECF No. 29). Therein, Defendant informed the Court that it

        had “collected more than a million email documents from several custodians . . . .” Id. at

        p. 2.
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   4. Per the Court’s minute order of the same date, Defendant’s motion was granted (ECF No.

       30), thereby extending Defendant’s deadline to complete its rolling production of

       documents to January 3, 2022.

   5. Serving all notices of depositions on or before December 17, 2021, i.e. prior to receiving

       and/or reviewing Defendant’s production, which is likely to include hundreds of thousands

       of email documents from multiple custodians, is not feasible.

   6. So as to allow Plaintiff sufficient time to review and analyze the entirety of Defendant’s

       document production prior to completing service of all notices of depositions in this Action,

       Plaintiff requests that the deadline for serving deposition notices in this Action be extended

       from December 17, 2021 to January 14, 2022.

   7. The requested extension permits Plaintiff a modest eleven (11) days after Defendant’s

       deadline to complete its production to serve any remaining notices of depositions and will

       not affect any other deadlines in this Action.

   8. Plaintiff’s Counsel contacted Defendant’s Counsel, Mr. Daniel Goldberger, and he

       indicated that Defendant does not oppose the requested extension.

       WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff’s Motion to

Extend the Deadline for Serving Notices of Depositions and thereby extend said deadline to

January 14, 2022.

Dated: December 13, 2021                                Respectfully submitted,


                                                        /s/ J. Dominick Larry

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